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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

DELVIN NEAL                                                                         PETITIONER
ADC #171726

V.                            NO. 4:21-cv-01185-JM-JTR

DEXTER PAYNE, Director,                                                           RESPONDENT
Arkansas Division of Correction

                              RECOMMENDED DISPOSITION

       The following Recommended Disposition has been sent to United States District Judge

James M. Moody, Jr. You may file written objections to all or part of this Recommendation. If

you do so, those objections must: (1) specifically explain the factual and/or legal basis for your

objection; and (2) be received by the Clerk of this Court within fourteen (14) days of the date of

this Recommendation.        If you do not file objections, Judge Moody may adopt this

Recommendation without independently reviewing all of the evidence in the record. By not

objecting, you may waive the right to appeal questions of fact.

                                         I. Introduction

       Pending before the Court is a § 2242 Petition for Writ of Habeas Corpus filed by Petitioner

Delvin Neal (“Neal”). On April 3, 2019, a Drew County jury found Neal guilty of trafficking a

controlled substance (methamphetamine), possession of drug paraphernalia, and second-degree

endangering the welfare of a minor. Neal was sentenced as a habitual offender to consecutive

terms of thirty years for trafficking and ten years for possession. For the endangerment conviction,

he was sentenced to a concurrent one-year term and fined $2500.00. Having exhausted his state

court remedies, Neal is seeking relief from his convictions and sentences.

                                         II. Background
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       On April 4, 2018, Stephanie Austin and Katie Barnes, probation officers with the Arkansas

Department of Community Correction, went to Neal’s residence for a home visit. James Slaughter,

a narcotics investigator from the Monticello Police Department, had informed the probation

officers that Neal might be selling methamphetamine. Neal’s girlfriend, Tiffany Wigfall, and five

young children also lived in the home. Wigfall answered the door and told the probation officers

that Neal was out with friends. When the officers heard a “noise in the back of the house,” they

entered the home to investigate. Trial Record 322. They found Neal lying on the bed in the

bedroom. There were no other adults in the home. As Wigfall entered the bathroom and attempted

to close the door behind her, Austin stopped her and directed her to leave the bathroom.

       Slaughter and two other police officers were also present. They recovered just over 43

grams of methamphetamine from the toilet bowl in the bathroom. In the bathroom cabinet, they

found a Ziploc bag with 357.3 grams of combined methamphetamine and dimethyl sulfone, a

dietary supplement used to dilute methamphetamine. Scales with white residue were discovered

in a bathroom drawer. 1 Both Neal and Wigfall were arrested.

       Wigfall pled guilty to possession of drug paraphernalia. In exchange for the prosecution’s

agreement to dismiss her other charges, she testified at Neal’s trial. Wigfall told the jury that the

scales found in the bathroom belonged to her, and that Neal used them to weigh methamphetamine



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           Under Arkansas law, a person engages in trafficking a controlled substance if he or she
possesses, delivers or manufactures methamphetamine with an aggregate weight, including an
adulterant or diluent, of 200 grams or more. Ark. Code Ann. § 5-64-440(b)(1). Amanda Blox, the
State Crime Lab forensic chemist, testified that she used only a screening test on a second Ziploc
bag of a white crystalline substance from the bathroom cabinet, and that she did not test white
residue from the scales. She said that, pursuant to the Crime Lab procedure, she tested the
recovered substances only to the extent necessary to substantiate the “highest charge”—200 grams
in this case. Trial Record 314.




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before selling it. She testified that, during the year that Neal had been living with her, he sold

methamphetamine “maybe once a week.” Trial Record 266. She said that they bought “MSM”

(methylsulfonylmethane, also known as dimethyl sulfone) at a local store and kept it in a Ziploc

bag in the bathroom cabinet. Trial Record 270. She testified that Neal gave the supplement to his

dogs for inflammation.

       Neal did not testify during the guilt phase, but the jury viewed his redacted video-recorded

police interview. 2 After Neal was arrested and transported to the Drew County Detention Center,

he was interviewed by Slaughter and another police officer, Ben Michel. In the interview, Neal

said that the white crystal substance in the Ziploc bags from the bathroom was “for dogs.” Trial

Record 338. He said that he did not know anything about the methamphetamine found in the toilet

bowl, and that he did not sell methamphetamine. When Michel asked Neal about the person

supplying the area with methamphetamine, Neal responded that he “go[es] to a couple of dudes.”

Trial Record 339. He said the supplier delivered methamphetamine “to the whole town . . . two

or three times a week,” including to his house. Trial Record 341. Neal described the supplier’s

appearance and his vehicles. He said that, in exchange for probation, he could “give [the officers]

about four or five people out here, and talk about big deals.” Trial Record 344. Slaughter testified

that he later worked with Neal to make “some controlled buys for law enforcement,” but that the

arrangement was not “successful.” Trial Record 364. He told the jury that, while he was trying to

use Neal as a confidential informant, Neal admitted that the methamphetamine found in the

bathroom belonged to him and that he sold methamphetamine.

       At the close of the State’s case, Neal moved for a directed verdict, arguing there was

insufficient evidence of the three charges—drug trafficking based on possession of


2
 Officers’ statements about reducing Neal’s charges in exchange for the name of the person bringing
methamphetamine into the area were omitted from the video-recording played for the jury.

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methamphetamine with an aggregate weight of 200 grams, possession of drug paraphernalia, and

child endangerment. He argued the prosecution had not presented sufficient evidence that he had

constructive possession of the methamphetamine, that the scales were used in connection with the

methamphetamine, or that the children living in the house were in danger. The trial court denied

the motion, and Neal did not call any witnesses.

       During the penalty phase, the jury heard that, when Neal was arrested, he was on probation

for 2012 convictions of possession of methamphetamine or cocaine (less than two grams) with

intent to deliver and of fleeing in a vehicle. The prosecution introduced the Drew County Circuit

Court sentencing order revoking Neal’s probation and sentencing him to consecutive terms of ten

and six years, respectively.

       On direct appeal, Neal argued the trial court erred in denying his motion to suppress the

police interview. The Arkansas Court of Appeals rejected Neal’s argument and affirmed the

convictions. Neal v. State, 2020 Ark. App. 417, 2020 WL 5651069. When the mandate issued on

December 17, 2020, Neal had sixty days to file a petition for post-conviction relief. Ark. R. Civ.

P. 37.1(c)(2). A week after the February 15, 2021 due date passed, Neal filed a pro se motion

seeking an extension of time to file a Rule 37 petition. Doc. 7. The circuit court denied the

extension motion, Doc. 8, and Neal did not appeal.

                                              III. Discussion

       Neal, a state prisoner, may seek a writ of habeas corpus in federal court, if he is “in custody

in violation of the Constitution or laws or treatises of the United States.” 28 U.S.C. § 2254(a).

Before seeking habeas review, Neal must have exhausted available state remedies by fairly

presenting each of his claims in state court. Coleman v. Thompson, 501 U.S. 722, 731 (1991);

O’Sullivan v. Boerckel, 526 U.S. 838, 848 (1999). A claim is procedurally defaulted when the



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state court declined to review it because the petitioner failed to comply with a state procedural

rule. Coleman, 501 U.S. at 729–32. Procedural default also occurs when a petitioner did not

present a claim in state court and a state court remedy is no longer available. O’Sullivan, 526 U.S.

at 848. If a claim is procedurally defaulted, this Court can consider it only if Neal establishes

either cause for the default and actual prejudice, or that the default will result in a fundamental

miscarriage of justice. Coleman, 501 U.S. at 750.

       On claims adjudicated on the merits in state court, this Court may grant habeas relief only

if Neal satisfies statutory requirements and United States Supreme Court “precedents governing

the appropriate exercise of equitable discretion.” Brown v. Davenport (Mike Brown), 596 U.S. __,

142 S. Ct. 1510, 1524 (2022). Neal must demonstrate that the state court adjudication “(1) resulted

in a decision that was contrary to, or involved an unreasonable application of, clearly established

Federal law, as determined by the Supreme Court of the United States; or (2) resulted in a decision

that was based on an unreasonable determination of the facts in light of the evidence presented in

the State court proceeding.” 28 U.S.C. § 2254(d). A decision is contrary to federal law if the state

court “applies a rule that contradicts the governing law” set out by the Supreme Court, or if it

considers facts that are “materially indistinguishable” from a Supreme Court case and decides

differently. Brown v. Payton, 544 U.S. 133, 141 (2005). Neal also must pass the Brecht test for

assessing the state court error’s prejudicial effect. Mike Brown, 142 S. Ct. at 1524. He must show

that the error had “substantial and injurious effect or influence” on the verdict or sentence. Brecht

v. Abrahamson, 507 U.S. 619, 637 (1993) (quotations omitted).

       Neal argues that he is entitled to habeas relief because the trial court’s denial of his

suppression motion was constitutional error. He contends that his trial lawyer’s directed-verdict

argument was constitutionally deficient. Neal also says that his appellate lawyer’s work was



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professionally unreasonable when he did not challenge the denial of the directed-verdict motion.

Neal alternatively argues the cumulative effect of these errors warrants habeas relief.

       Because Neal fairly presented the trial error claim on direct appeal, deference review of the

Arkansas Court of Appeals decision is required. 28 U.S.C. § 2254(d).          Neal did not raise the

ineffectiveness claims or the cumulative error claim in state court, and state court remedies are no

longer available. These three claims therefore are procedurally defaulted.

                              A. Suppression of Custodial Statement

       Neal argues that, because his statement was obtained in violation of his right to due process

and his Fifth Amendment privilege against self-incrimination, the trial court erroneously denied

his motion to suppress the police interview. He says his statement was involuntary because it was

induced by the officers’ false promises of leniency.

       The Arkansas Court of Appeals considered the voluntariness of Neal’s statement under a

two-step test. First, the Court of Appeals considered whether the officers made an ambiguous

leniency promise, “making it difficult to determine if it was truly a false promise of leniency.”

Neal, 2020 Ark. App. 417, *4, 2020 WL 5651069, **2. After reviewing the police interview, the

appellate court found “there was enough contradiction within the statements by the officers to

conclude that they were ambiguous.” 2020 Ark. App. 417, *6, 2020 WL 5651069, **3.

       Here, [Neal] lists several statements by the officers that this court finds concerning.
       In particular, Officer Michel's offer to eliminate a misdemeanor charge on the
       information sheet given to the prosecutor was inappropriate, and his statement that
       the time Neal will spend in prison depends on what he tells the officers was an
       egregious mischaracterization of the judicial process. However, Neal's responses to
       these attempts by Michel to elicit information was not a confession but a steadfast
       denial that the drugs found in the home were his and a denial that he was “the man”
       selling drugs in the community. Additionally, Officer Slaughter tempered Michel's
       attempts with repeated clarifications that the prosecutor is the ultimate decision
       maker when it comes to which charges Neal will face and that any recommended
       charges made by the officers can be changed by the prosecutor. It is also clear that
       [Neal] understood that the prosecutor alone would the make the final decision

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       regarding charges, at one point in the interview asking the officers what kind of
       deal could be made with the prosecutor. . . . Additionally, Slaughter testified he did,
       in fact, speak to a deputy prosecuting attorney about a reduction in charges in
       exchange for appellant's cooperation as a confidential informant.

Neal, 2020 Ark. App. 417, *5, 2020 WL 5651069, **2.

       Because the Court of Appeals found ambiguity in the officers’ statements, it proceeded to

the second step and examined Neal’s vulnerability to the officers’ statements. Neal had not

addressed this issue on appeal, so the appellate court considered the trial court’s related findings:

       In its order, the circuit court specifically found that [Neal] was thirty-two at the
       time of his interrogation; that he was given his Miranda rights prior to interrogation;
       that he was told by officers that he could stop the interview at any time to which he
       replied, “I mean, I'm listening”; and that he declined to cooperate in any manner.
       Additionally, our de novo review of the record and the interview itself shows that
       [Neal] was familiar with the legal system as he was on probation at the time of the
       interview and that the interview lasted less than forty minutes.

Neal, 2020 Ark. App. 417, *6, 2020 WL 5651069, **3. Based on the totality of the circumstances,

the Court of Appeals affirmed the trial court’s denial of the suppression motion.

       The Arkansas Court of Appeals decision was not contrary to, or an unreasonable

application of, clearly established law; nor was it an unreasonable determination of the facts. 28

U.S.C. § 2254(d). Under clearly established federal law, whether a statement is voluntary must be

considered under the totality of the circumstances—“the characteristics of the accused and the

details of the interrogation.” Schneckloth v. Bustamonte, 412 U.S. 218, 226 (1973). Factors

include the accused’s age, his education and intelligence, the length of the police interview, and

the nature of the questioning. Id. The ultimate issue in determining voluntariness is whether

Slaughter and Michel extracted a confession from Neal by the use of false promises of leniency

such that “his will [was] overborne and his capacity for self-determination critically impaired.”

Culombe v. Connecticut, 367 U.S. 568, 602 (1961). Because the Court of Appeals properly

considered the voluntariness of Neal’s statement under the totality of the circumstances, Neal,

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2020 Ark. App. 417, *3–6, 2020 WL 5651069, **2–3, the state court decision did not unreasonably

apply clearly established federal law.

       Based on this Court’s review of the suppression hearing record, the Court of Appeals did

not make an unreasonable determination of the facts. During the police interview, Neal denied

any knowledge of the methamphetamine found in the bathroom. When the officers discussed what

they had heard about Neal selling methamphetamine, Neal denied that he was the primary supplier

in the area. The officers then asked him about the identity of the major supplier. Neal eventually

admitted that he got his methamphetamine from “a couple of dudes,” Trial Record 339, but he was

reluctant to give any more information about his supplier unless he could avoid prison. Michel

continued to press Neal, stating that his cooperation would result in reduced charges and sentences.

While Neal described the supplier’s appearance and his vehicles, he refused to name the supplier.

At the end of the interview, Neal told Slaughter and Michel that, “[i]f he—I mean, if they give me

probation, I can give you about four, five people out here, and talk big deals.” Trial Record 344.

Michel’s statements—overstating the officers’ control over the charges filed against Neal and any

related prison time—are troubling. There was little clarification that the prosecutor was the final

decision-maker with respect to filing any charges and offering a plea agreement. The totality of

the circumstances, however, do not show Neal’s “will [was] overborne and his capacity for self-

determination critically impaired.” Culombe, 367 U.S. at 602. While Neal made incriminating

statements during the interview, he was not induced by any false promises of leniency. He was on

probation at the time of his arrest, so he was familiar with the procedure related to filing criminal

charges. He refused to name the supplier, and he recognized that the officers did not have the

authority to recommend probation.




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        Neal, moreover, has not demonstrated any constitutional error had a “substantial and

injurious effect or influence” on the verdict. Brecht, 507 U.S. at 637. There was overwhelming

evidence without the police interview that Neal had constructive possession of the

methamphetamine and drug paraphernalia (scales) found in the bathroom. When there is joint

occupancy of the premises, constructive possession requires control and knowledge of the

contraband. Loggins v. State, 2010 Ark. 414, *4–5, 372 S.W.3d 785, 789–90. “This control and

knowledge can be inferred from the circumstances,” including “an accused’s suspicious behavior

coupled with proximity to the contraband . . ..” Id. The trial evidence was that, while Wigfall

answered the front door, Neal, the only other adult in the home, attempted to flush the

methamphetamine down the toilet. Wigfall, moreover, testified that Neal used her scales to weigh

methamphetamine before selling it. The trial evidence was that untested white residue was present

on the scales. Slaughter testified that, while he was working with Neal as a confidential informant,

Neal admitted that the methamphetamine belonged to him.

        Under deference review, Neal’s statements during the police interview were voluntary and

therefore properly admitted at trial. Based on overwhelming evidence of guilt, any error was

harmless under the Brecht standard. The claim therefore is denied.

                                 B. Ineffectiveness Of Counsel

        Neal next contends his trial lawyer’s directed-verdict argument on the drug trafficking and

the paraphernalia possession charges was constitutionally deficient. He says his appellate lawyer

committed constitutional error when he failed to appeal the denial of the directed-verdict motion.

These ineffectiveness claims were procedurally defaulted when Neal failed to file a timely Rule

37 petition in state court.




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       Neal argues procedural default of the ineffectiveness of trial counsel claim is excused under

Martinez v. Ryan. 566 U.S. 1 (2012). In Martinez, the United States Supreme Court recognized

an equitable exception to the general rule that post-conviction counsel’s ineffectiveness cannot

constitute cause to excuse procedural default. Id. The Supreme Court held that, when state

procedures require petitioners to raise ineffectiveness of trial counsel claims in collateral

proceedings, the absence of counsel or attorney error in the initial collateral-review proceeding is

cause to excuse procedural default of substantial ineffectiveness of trial counsel claims. Id. at 14.

The Supreme Court expanded the equitable exception to apply when state procedural rules do not

provide a “meaningful opportunity” to raise ineffectiveness of trial counsel claims on direct appeal.

Trevino v. Thaler, 569 U.S. 413, 428 (2013). The Martinez-Trevino equitable exception applies

in habeas review of Arkansas state court decisions. Sasser v. Hobbs, 735 F.3d 833, 851–53 (8th

Cir. 2013).

       Neal contends the Martinez-Trevino equitable exception should be extended to situations

in which a pro se inmate failed to initiate post-conviction proceedings. He says the Supreme

Court’s reasoning—pro se inmates are at a disadvantage during collateral review proceedings—

applies when a pro se inmate does not file a timely Rule 37 petition. The Supreme Court, in

Martinez, however, addressed a defective collateral-review process, not a proceeding that was

never initiated. Recognizing the limits of Martinez, our courts have held the equitable exception

does not apply when the petitioner failed to file a timely Rule 37 petition. See, e.g., Bell v. Kelley,

No. 5:17-cv-234, 2018 WL 3653317, *6 (E.D. Ark. Jun. 29, 2018), report and recommendation

adopted by 2018 WL 3650228 (Aug. 1, 2018); McCullough v. Kelley, No. 5:15-cv-162, 2016 WL

1039521 (E.D. Ark. Feb. 25, 2016), report and recommendation adopted by 2016 WL 1047369

(Mar. 15, 2016). This is not a case like Castillo v. Kelley, where procedural default was considered



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under a Martinez-Trevino analysis because the habeas petitioner had not been represented by post-

conviction counsel and the trial court had specifically instructed the petitioner that he could not

file a Rule 37 petition. No. 5:14-cv-368, 2015 WL9595464, *3 (E.D. Ark. Sept. 17, 2015), report

and recommendation adopted by 2016 WL 30663 (Jan. 4, 2016).

       Because Neal failed to file a timely Rule 37 petition, procedural default of the

ineffectiveness of trial counsel claim cannot be considered under a Martinez-Trevino analysis.

Neal makes no other argument for excusing procedural default. His procedurally defaulted

ineffectiveness of appellate counsel claim fares no better. The United States Supreme Court has

declined to extend the equitable exception beyond procedurally defaulted ineffectiveness of trial

counsel claims. Davila v. Davis, 582 U.S. 521 (2017).

       Even if the equitable exception applies to Neal’s ineffectiveness of trial counsel claim, the

outcome is the same. Procedural default is not excused under a Martinez-Trevino analysis because

the ineffectiveness claim is not substantial. Martinez, 566 U.S. at 14. Neal argues his trial lawyer

should have made a better directed-verdict argument that he lacked constructive possession of the

methamphetamine and drug paraphernalia (scales).          Neal, however, has not demonstrated

constitutional ineffectiveness under the familiar Strickland v. Washington standard of deficient

performance and resulting prejudice. 466 U.S. 668 (1984). The lawyer’s argument did not fall

“outside the wide range of reasonably professional assistance.” Id. at 690. There is not a

reasonable probability that, with an improved argument, there would have been a different verdict.

Id. at 694. Neal also says his trial lawyer failed to renew the directed-verdict motion, but renewal

was not required because the defense did not present any evidence. Robinson v. State, 317 Ark.

17, 22–23, 875 S.W.2d 837, 841 (1994).




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        Because Neal has not shown any excuse for procedural default, the ineffectiveness claims

are denied. Even if the Martinez-Trevino equitable exception applies to the procedurally defaulted

ineffectiveness of trial counsel claim, Neal has not overcome procedural default because the claim

is not substantial.

                                     C. Cumulative Error

        Neal makes no argument that procedural default of the cumulative error claim is excused.

Based on record review, this Court, moreover, finds no reason to excuse the default. The claim is

also denied under alternative merits analysis. 28 U.S.C. § 2254(b)(2). Habeas relief is not

available based on the cumulative effect of constitutional error claims. Harris v. Bowersox, 184

F.3d 744. 755 (8th Cir. 1999). This claim is denied.

                                         IV. Conclusion

        IT IS THEREFORE RECOMMENDED THAT: (1) Neal’s Petition for Writ of Habeas

Corpus be DENIED; (2) this habeas action be DISMISSED with prejudice; and (3) pursuant to

Rule 11(a) of the Rules Governing Section 2254 Cases, no certificate of appealability be issued.

        DATED this 19th day of September, 2023.



                                                       ____________________________________
                                                       UNITED STATES MAGISTRATE JUDGE




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